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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              8:16CR52
                     Plaintiff,              )
                                             )
       vs.                                   )               ORDER
                                             )
PATRICIA M. URBANOVSKY,                      )
                                             )
                     Defendant.              )


       This matter is before the court on the oral motion of defendant Patricia M.
Urbanovsky (Urbanovsky) for an extension of the pretrial motion deadline. The motion was
made during the arraignment on the Indictment on March 21, 2016. The government had
no objection to the motion. Urbanovsky acknowledged the additional time needed for this
motion would be excluded under the calculations under the Speedy Trial Act. The oral
motion was granted.


       IT IS ORDERED:
       1.     Urbanovsky’s motion for an extension of time to file pretrial motions is
granted. Urbanovsky shall have to on or before June 15, 2016, in which to file pretrial
motions in accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., from March 28, 2016, through June 15,
2016, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 21st day of March, 2016.
                                                      BY THE COURT:


                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
